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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     KIMBERLY M. FRAYN
 3   Assistant United States Attorney
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 4   Las Vegas, Nevada 89101
     702-388-6546
 5
                       UNITED STATES DISTRICT COURT
 6
                            DISTRICT OF NEVADA
 7                                                 -oOo-

 8   UNITED STATES OF AMERICA,        )
                                      ) Case No.: 2:15-cr-00280-RCJ-PAL
                Plaintiff,            )
 9                                    )
                                      ) STIPULATION FOR
10       vs.                          )
                                      ) PROTECTIVE ORDER
11   EDWARD MARCOS MELENDEZ,          )
                                      )
12              Defendant.            )
                                      )
13       IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

14   United States Attorney for the District of Nevada, and Kimberly M. Frayn, Assistant United

15   States Attorney, counsel for the nited States, and William C. Carrico, Assistant Federal Public

16   Defender, counsel for defendant EDWARD MARCOS MELENDEZ, that this Court issue an

17   Order protecting from disclosure to the public any discovery documents containing the personal

18   identifying information such as credit and debit card account numbers, social security numbers,

19   drivers’ license numbers, dates of birth, or addresses, of participants, witnesses and victims in

20   this case. Such documents shall be referred to hereinafter as “Protected Documents.” The

21   parties state as follows:

22
             1.      Protected Documents which will be used by the government in its case in chief
23
     include personal identifiers, including for example, social security numbers, drivers’ license
24
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 1   numbers, dates of birth, and addresses, of participants, witnesses, and victims in this case.

 2
             2.     Discovery in this case is estimated to be a few hundred pages in length. Given
 3
     the nature of the allegations and the facts and circumstances surrounding the crimes with which
 4
     the defendant is charges, that is, that the defendant assumed identities of persons other than
 5
     himself, obtained false identity documents, transferred produced and used counterfeit access
 6
     devices and used unauthorized access devices, many of the documents in the discovery
 7
     necessarily include personal identifiers.    Redacting the personal identifiers of participants,
 8
     witnesses, and victims would prevent the timely disclosure of discovery to defendant.
 9
             3.     The United States agrees to provide Protected Documents without redacting the
10
     personal identifiers of participants, witnesses, and victims.
11
             4.     Access to Protected Documents will be restricted to persons authorized by the
12
     Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,
13
     and secretaries employed by the attorney(s) of record and performing on behalf of defendant.
14
             5.     The following restrictions will be placed on defendant, defendant’s attorney(s)
15
     and the above-designated individuals unless and until further ordered by the Court. Defendant,
16
     defendant’s attorneys and the above-designated individuals shall not:
17
                    a.      make copies for, or allow copies of any kind to be made by any other
18
     person of Protected Documents;
19
                    b.      allow any other person to read Protected Documents; and
20
                    c.      use Protected Documents for any other purpose other than preparing to
21
     defend against the charges in the Indictment or any further superseding indictment arising out of
22
     this case.
23

24

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 1           6.      Defendant’s attorney(s) shall inform any person to whom disclosure may be

 2   made pursuant to this order of the existence and terms of this Court’s order.

 3           7.      The requested restrictions shall not restrict the use or introduction as evidence of

 4   discovery documents containing personal identifying information such as social security

 5   numbers, drivers’ license numbers, dates of birth, and addresses during the trial of this matter.

 6           8.      Upon conclusion of this action, defendant’s attorney(s) shall return to

 7   government counsel or destroy and certify to government counsel the destruction of all

 8   discovery documents containing personal identifying information such as social security

 9   numbers, drivers’ license numbers, dates of birth, and addresses within a reasonable time, not to

10   exceed thirty days after the last appeal is final.

11           DANIEL G. BOGDEN
             United States Attorney
12

13           /s/Kimberly M. Frayn                                  March 22, 2016
             KIMBERLY M. FRAYN                                     DATE
14           Assistant United States Attorney

15

16           /s/William C. Carrico                   March 22, 2016
             WILLIAM C. CARRICO                      DATE
17           Assistant Federal Public Defender
             Counsel for defendant EDWARD MARCOS MELENDEZ
18
             ORDER
19

20
             IT IS SO ORDERED this 25th day of March, 2016.
21

22

23           _____________________________________________________
             UNITED STATES DISTRICT/MAGISTRATE COURT JUDGE
24

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